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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 BERNARD MILKOWSKI, as Executor of the                  Civil Case No.: 2:22-CV-01334 SDW-JBC
 Estate of Tadeusz. Milkowski, on behalf of
 himself and all others similarly situated,
                                                                  CIVIL ACTION
                        Plaintiff(s),
                                                              FIRST AMENDED
                                                          CLASS ACTION COMPLAINT
                      -against-                                 AND DEMAND
                                                              FOR JURY TRIAL

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC; and JOHN DOES 1-25,

                        Defendant(s).


       Plaintiff, BERNARD MILKOWSKI, as Executor of the Estate of Tadeusz. Milkowski, on

behalf of himself and all others similarly situated (hereinafter “Plaintiff”) by and through his

undersigned attorney, alleges against the above-named Defendants; HEALTHCARE REVENUE

RECOVERY GROUP, LLC ("HRRG"); and JOHN DOES 1-25, their employees, agents, and

successors (collectively “Defendants”) the following:

                                  PRELIMINARY STATEMENT

       1.      Plaintiff brings this action for damages and declaratory relief arising from the

Defendants' violation of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act

(hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.
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        3.      Venue is proper in this district under 28 U.S.C. §1391(b)(2) because the acts of the

Defendant that give rise to this action, occurred in substantial part, in this district.

                                           DEFINITIONS

        4.      As used in reference to the FDCPA, the terms “creditor,” “consumer,” “debt,” and

“debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.

                                              PARTIES

        5.      The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt collection

practices provides for the initiation of court proceedings to enjoin violations of the FDCPA and to

secure such equitable relief as may be appropriate in each case.

        6.      Plaintiff is a natural person, and Executor of the Estate of Tadeusz. Milkowski, and

is a “Consumer” as defined by 15 U.S.C. § 1692a(3).

        7.      HRRG is a foreign limited liability company with offices located at 1643 N.

Harrison Parkway, Building “H”, Suite 100, Sunrise, Florida, 33323.

        8.      Upon information and belief, HRRG uses the mail, telephone, and facsimile and

regularly engages in business the principal purpose of which is to attempt to collect debts alleged

to be due another.

        9.      HRRG is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

        10.     John Does 1-25, are fictitious names of individuals and business alleged for the

purpose of substituting names of defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                CLASS ACTION ALLEGATIONS

        11.     Plaintiff brings this action as a state wide class action, pursuant to Rule 23 of the

Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of himself and all New Jersey
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consumers and their successors in interest (the “Class”), who were sent debt collection letters

and/or notices from the Defendants which are in violation of the FDCPA, as described in this

Complaint.

       12.      This Action is properly maintained as a class action. The Class is initially defined

as:

                •   All New Jersey consumers who were sent letters and/or notices
                    from HHRG concerning a debt owed to another, which included
                    the alleged conduct and practices described herein.


                    The class definition may be subsequently modified or refined.

                    The Class period begins one year to the filing of this Action.

       13.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                •   Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there may be hundreds and/or thousands of

                    persons who were sent debt collection letters and/or notices from the

                    Defendants that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice. (See Exhibit A, except that

                    the undersigned attorney has, in accordance with Fed. R. Civ. P. 5.2 redacted

                    the financial account numbers and/or personal identifiers in an effort to protect

                    Plaintiff’s privacy);

                •   There are questions of law and fact which are common to the Class and which

                    predominate over questions affecting any individual Class member. These

                    common questions of law and fact include, without limitation:
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                  a.      Whether the Defendants violated various provisions of the

                          FDCPA.

                  b.      Whether Plaintiff and the Class have been injured by the

                          Defendants’ conduct;

                  c.      Whether Plaintiff and the Class have sustained damages and are

                          entitled to restitution as a result of Defendants’ wrongdoing and if

                          so, what is the proper measure and appropriate statutory formula to

                          be applied in determining such damages and restitution; and

                  d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                          injunctive relief.

           •   Plaintiff’s claims are typical of the Class, which all arise from the same

               operative facts and are based on the same legal theories.

           •   Plaintiff has no interest adverse or antagonistic to the interest of the other

               members of the Class.

           •   Plaintiff will fairly and adequately protect the interest of the Class and has

               retained experienced and competent attorneys to represent the Class.

           •   A Class Action is superior to other methods for the fair and efficient

               adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

               difficulties are likely to be encountered in the management of this class action.

           •   A Class Action will permit large numbers of similarly situated persons to

               prosecute their common claims in a single forum simultaneously and without

               the duplication of effort and expense that numerous individual actions would

               engender. Class treatment will also permit the adjudication of relatively small
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                   claims by many Class members who could not otherwise afford to seek legal

                   redress for the wrongs complained of herein. Absent a Class Action, class

                   members will continue to suffer losses of statutory protected rights as well as

                   monetary damages. If Defendants’ conduct is allowed to proceed without

                   remedy, they will continue to reap and retain the proceeds of their ill-gotten

                   gains.

               •   Defendants have acted on grounds generally applicable to the entire Class,

                   thereby making appropriate final injunctive relief or corresponding declaratory

                   relief with respect to the Class as a whole.

                                   STATEMENT OF FACTS

        14.    Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

        15.    Prior to October 19, 2021, Tadeuz Milkowski passed away.

        16.    Plaintiff is the executor of the Estate of Tadeuz Milkowski.

        17.    On or about April 5, 2021 April 6, 2021, Tadeuz Milkowski, incurred a financial

obligation to HOSPIST PHYS OF NEW JERSEY (“HPNJ”).

        18.    On or before October 19, 2021, HPNJ hired HRRG to collect the balance due.

        19.    HRRG is a "debt collector" as defined by 15 U.S.C. § 1692a(6)

        20.    At the time HPNJ hired HRRG to collect the HPNJ obligation, said obligation was

in default.

        21.    The HPNJ obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.
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       22.    The HPNJ obligation did not arise out of a transaction that was for business

purposes.

       23.    The HPNJ obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

       24.    HPNJ is a "creditor" as defined by 15 U.S.C. § 1692a(4).

       25.    HRRG caused to be delivered a letter dated October 19, 2021, attempting to collect

the HPNJ obligation. A copy of said letter annexed hereto as Exhibit A.

       26.    The October 19, 2021 letter was addressed to: Estate of T. Milkowski.

       27.    Plaintiff read the October 19, 2021 letter.

       28.    The October 19, 2021 letter stated in part:

              ESTATE OF T. MILKOWSKI
              xxxxxxxxx
              xxxxxxxxx, NJ xxxxx

                                             Re: XXXXXXXX Validation Notification
                                             hrrgcollections.com
                                             PIN# xxxxx

              Dear Estate Of T Milkowski:

              The Healthcare Creditor(s) shown below hired Healthcare
              Revenue Recovery Group (HRRG) to collect the balance due.
              To pay, just fill in your credit card information on the reverse
              side of this notice, or enclose your check/money order payable
              to the creditor…


       29.    The October 19, 2021 letter further stated in part:

              This communication is from Healthcare Revenue Recovery Group,
              LLC, a debt collector. This is an attempt to collect a debt and any
              information obtained will be used for that purpose.


       30.    At the time HRRG mailed the October 19, 2021 letter to the Estate of T. Milkowski,

it did not know who would open the letter.
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       31.      At the time HRRG mailed the October 19, 2021 letter to the Estate of T.

Milkowski, it did not know who would read the letter.

       32.     The October 19, 2021 letter does not request that the person who is responsible for

paying the outstanding bills from the decedent's estate contact HRRG.

       33.     Prior to mailing the October 19, 2021 letter, HRRG did not contact the Union

County Surrogate’s office to inquire as to whether an estate was opened on behalf T. Milkowski.

       34.     Prior to mailing the October 19, 2021 letter, HRRG did not contact the Union

County Surrogate’s office to inquire as to whether Letters Testamentary or Letters of

Administration were issued as to the Estate of T. Milkowski.

       35.     The October 19, 2021 letter does not inform the reader that she or he will not be

personally liable to pay the debt.

       36.     The October 19, 2021 letter does not inform the reader that HHRG is seeking

payment form the estate’s assets.

       37.     The October 19, 2021 letter does not inform the reader that the “your credit card”

and “your check/money order” that is referenced in the sentence in the first paragraph, is not the

reader’s credit card, check, or money order.

       38.     The October 19, 2021 letter does not inform the reader that he or she could not be

required to use his or her individual’s assets to pay the decedent’s debt

                      POLICIES AND PRACTICES COMPLAINED OF

       39.     It is HRRG’S policy and practice to send initial written collection communications,

in the form annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

               (a)     Using false, deceptive or misleading representations or means in
                       connection with the collection of a debt; and

               (b)     Communicating with the third parties concern a debt owed to another.
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        40.     On information and belief, HRRG sent written communications in the form

annexed hereto as Exhibit A, to at least 40 natural persons in the State of New Jersey with one year

of this Complaint.

                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        41.     Plaintiff, on behalf of himself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        42.     Collection letters and/or notices, such as those sent by HRRG, are to be evaluated

by the objective standard of the hypothetical “least sophisticated consumer.”

        43.     15 U.S.C. §1692c(b) provides:

                                  Communication With Third Parties

                Except as provided in section 1692b of this title, without the prior
                consent of the consumer given directly to the debt collector, of the
                express permission of a court of competent jurisdiction, or as
                reasonably necessary to effectuate a post judgment judicial remedy,
                a debt collector may not communicate, in connection with the
                collection of any debt, with any person other than the consumer, his
                attorney, a consumer reporting agency if otherwise permitted by
                law, the creditor, the attorney of the creditor, or the attorney of the
                debtor collector.

        44.     15 U.S.C. §1692c(b) provides:

                                          “Consumer” Defined

                For the purpose of this section, the term “consumer” includes the
                consumer’s spouse parent (if the consumer is a minor), guardian,
                executor, or administration.


        45.     The October 19, 2021 letter from HRRG is addressed to: ESTATE OF T.

MILKOWSKI.
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       46.     HRRG violated 15 U.S.C. §1692c(b), by sending the October 19, 2021 letter

addressed to: ESTATE OF T. MILKOWSKI, without addressing the letter to the attention of the

Executor.

       47.     HRRG violated 15 U.S.C. §1692 c(b), by sending the October 19, 2021 letter

addressed to: ESTATE OF T. MILKOWSKI, rather than addressing the letter to the Executor,

because any person with or without an interest in the estate of T. Milkowski, could read the letter,

as it is not addressed to the Executor.

       48.     HRRG violated 15 U.S.C. §1692c(b), by sending a letter addressed to: ESTATE

OF T. MILKOWSKI, subject to being read by any person with or without an interest in the estate

of T. Milkowski, and disclosing the amount of the debt owed.

       49.     HRRG violated 15 U.S.C. §1692c(b) by sending a letter addressed to: ESTATE T.

MILKOWSKI, disclosing that it is a debt collector.

       50.     15 U.S.C. § 1692e provides that a debt collector may not use false, deceptive, or

misleading representation or means in connection with the collection of any debt.

       51.     Defendant violated 15 U.S.C. § 1692e of the FDCPA by using any false, deceptive

and misleading representations and means in connection with its attempts to collect debts from

Plaintiff and others similarly situated.

       52.     Defendant violated 15 U.S.C. § 1692e of the FDCPA in connection with its

communications to Plaintiff and others similarly situated.

       53.     Section 1692e(10) prohibits the use of any false representation or deceptive means

to collect or attempt to collect any debt.

       54.     HRRG violated 15 U.S.C. §1692e(10) by falsely representing that the reader of the

October 21, 2021 letter was obligated to pay the debt.
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       55.     HRRG violated 15 U.S.C. §1692e(10) by falsely representing that the reader should

use his/her individual credit card and/or check to pay the debt.

       56.     Plaintiff and others similarly situated, suffered an informational injury as a result

of HRRG’S violation of 15 U.S.C §1692e(10).

       57.     Plaintiff and others similarly situated, suffered a risk of economic injury as a result

of HRRG’S violation of 15 U.S.C. §1692e(10).

       58.     Congress enacted the FDCPA in part to eliminate abusive debt collection practices

by debt collectors.

       59.     Plaintiff and others similarly situated have a right to free from abusive debt

collection practices by debt collectors.

       60.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       61.     Plaintiff and others similarly situated were sent letters, which have the propensity

to affect their decision-making with regard to the debt.

       62.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

       63.     Plaintiff has suffered damages and other harm as a direct result of HRRG’S actions,

conduct, omissions and violations of the FDCPA described herein.

       WHEREFORE, Plaintiff demands judgment against HRRG as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the attorneys, Joseph K. Jones, Esq., as Class

Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;
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                (c)     Awarding Plaintiff and the Class actual damages;

                (d)     Awarding pre-judgment interest;

                (e)     Awarding post-judgment interest.

                (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys' fees

and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.


Dated: April 6, 2022


                                               s/ Joseph K. Jones
                                               Joseph K. Jones, Esq. (JJ5509)
                                               JONES, WOLF & KAPASI, LLC
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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

                                               s/ Joseph K. Jones
                                               Joseph K. Jones, Esq.
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                       CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       I, Joseph K. Jones, the undersigned attorney of record for Plaintiff, do hereby certify to my

own knowledge and based upon information available to me at my office, the matter in controversy

is not the subject of any other action now pending in any court or in any arbitration or

administrative proceeding.

Dated: April 6, 2022

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
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                     Exhibit

                                  A
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